      Case 2:20-cv-00078-LGW-BWC Document 6 Filed 07/20/20 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION

JANICE THERESA DOLLAR, AS                        )
PERSONAL REPRESENTATIVE OF                       ) Civil Action No.2:20-CV-78
THE ESTATE OF MICHAEL LAMAR                      )
DOLLAR AND INDIVIDUALLY,                         )
                                                 )
        PLAINTIFF,                               )
                                                 )
VS.                                              )
                                                 )
MONSANTO COMPANY,                                )
                                                 )
        DEFENDANT.                               )

                               NOTICE OF APPEARANCE

       COME NOW TODD C. BROOKS and the law firm CATTS & BROOKS, LLC,

(“hereinafter “COUNSEL”), and hereby enter their appearance as counsel on behalf of the

Plaintiff, in the captioned action. COUNSEL request that copies of all notices, motions,

pleadings, correspondence, and other filings and/or materials in this action be served upon

them at the address provided herein.

       This 20th day of July, 2020.

                                           s/Todd C. Brooks
                                           Georgia Bar Number: 085550
                                           Attorney for Plaintiff
                                           CATTS & BROOKS LLC
                                           1529 Reynolds Street
                                           Brunswick, Georgia 31520
                                           Telephone: (912) 261-8448
                                           Email: toddbrooks@cattslaw.com
      Case 2:20-cv-00078-LGW-BWC Document 6 Filed 07/20/20 Page 2 of 2




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VS.                                               )
                                                  )
MONSANTO COMPANY,                                 )
                                                  )
        DEFENDANT.                                )

                                 CERTIFICATE OF SERVICE

       I certify that this document has been filed electronically. Notice of this filing will be sent

by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. Parties may access this filing through the Court’s electronic filing system.

       This 20th day of July, 2020.



                                                    s/Todd C. Brooks
                                                    Todd C. Brooks
